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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 7

    ERUS HOLDINGS LLC,                                        Case No. 23-11833-CTG

              Debtor.

    In re:                                                    Chapter 7

    ERUS BUILDERS, LLC,                                       Case No. 23-11834-CTG

              Debtor.

    In re:                                                    Chapter 7

    NATIONAL CLEAN ENERGY, LLC,                               Case No. 23-11835-CTG

              Debtor.


         ORDER AUTHORIZING JOINT ADMINISTRATION OF CASES PURSUANT
             TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 1015(b)

             Upon the motion (the “Motion”) 1 of the above-captioned debtors (collectively, the

“Debtors”) for an order authorizing the joint administration of the Debtors’ separate chapter 7

cases for procedural purposes only, the Court finds that (i) it has jurisdiction over the matters raised

in the Motion pursuant to 28 U.S.C. §§ 157 and 1334(b), (ii) this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2), (iii) the relief requested in the Motion is in the best interests of the Debtors,

their estates, and their creditors, (iv) proper and adequate notice of the Motion and the hearing

thereon has been




1
    Unless otherwise defined herein, all capitalized terms shall have the meaning ascribed to them in the Motion.
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given and that no other or further notice is necessary, and (v) good and sufficient causeexists for

the granting of the relief requested in the Motion after having given due deliberation upon the

Motion and all of the proceedings had before the Court in connection with the Motion. Therefore,

as set forth herein

            IT IS HEREBY ORDERED THAT:

            1.     The Motion is GRANTED.

            2.     The above-captioned cases are consolidated for procedural purposes only and shall

be administered jointly under Case No. 23-11834-CTG in accordance with the provisions of

Bankruptcy Rule 1015(b), Local Rule 1015-1 and section 105 of the Bankruptcy Code, and the

joint caption of the cases shall read as it appears immediately below:

                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re                                                 Chapter 7

    ERUS BUILDERS, LLC, et al.,                           Case No.: 23-11834-CTG
                                                          (Jointly Administered)
                             Debtors.
1
  The Debtors in these Chapter 7 cases, along with the last four digits of each Debtors’ federal tax
identification numbers are: Erus Holdings, LLC (6265); Erus Builders, LLC (0306); and National Clean
Energy, LLC (8399)

            3.     All original pleadings shall be captioned as indicated in the preceding paragraph

and all original docket entries shall be made solely in the case of Erus Builders, LLC, Case No.

23-11834-CTG unless the Court orders otherwise.

            4.     A docket entry shall be made in each of the other Debtors’ chapter 7 cases

substantially as follows:

            An order has been entered in this case consolidating this case with the case of Erus
            Builders, LLC, Case No. 23-11834-CTG for procedural purposes only and
            providing for its joint administration in accordance with the terms thereof. The



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       docket in Case No. 23-11834-CTG shall be consulted for all matters affecting this
       case.

       5.      The caption set forth above shall be deemed to satisfy any applicable requirements

of Bankruptcy Code section 342(c) and Bankruptcy Rule 2002(n).

       6.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting the substantive consolidation of these chapter 7 cases.

        7.     This Order shall take effect immediately upon entry.

        8.     This Court shall retain jurisdiction with respect to all matters relating to the

interpretation and implementation of this Order.




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